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                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                                Case No.     CR417-95


EUGENE HARRISON,
                            Defendants.




         D. Campbell Bowman, Jr., counsel of record for defendant in

the above-styled case has moved for leave of absence.            The Court is

mindful that personal and professional obligations require the

absence         of    counsel on occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

         Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall
not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


         SO ORDERED this /r--"day of September 2017.

     U. 8. DISTRICT COURT
     Southern District of Ga.             WILLIAM T. MOORE,
          Fiied in Office                 UNITED STATES DISTRICT COURT
                             M
                                          SOUTHERN DISTRICT OF GEORGIA


          Deputy Clerk
